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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE
OF BRANCHES AND YOUTH UNITS
OF THE NAACP, et al.,

       Plaintiffs,

v.                                                   Case Nos.: 4:23cv215-MW/MAF
                                                                4:23cv216-MW/MAF
                                                                4:23cv218-MW/MAF

CORD BYRD, in his official capacity
as Florida Secretary of State, et al.,

     Defendants.
__________________________/

                               SCHEDULING ORDER
       These cases are consolidated for a bench trial scheduled to begin on April 1,

2024. This Order sets out certain deadlines and requirements for trial.

       The parties shall file written opening statements on or before Wednesday,

March 27, 2024, by 5:00 p.m. (ET). The parties are not required to outline their

evidence and tip their hands before trial unless they want to do so. Instead, this Court

requires a summary of the remaining claims, elements of those claims, the applicable

standard(s) of review, including alternative standards of review, etc.1 There is no

page or word limit for the parties’ written opening statements.

       1
        This Court intends to rule on any remaining motions for summary judgment well in
advance of the parties’ deadline for filing written opening statements.
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       Trial will begin on Monday, April 1, 2024, at 8:00 a.m. (ET) in Tallahassee,

Florida. This Court will hear testimony from 8:00 a.m. until 8:00 p.m., Monday

through Friday, until the trial is finished. The proceedings WILL NOT be paused

to wait for witnesses. There will be no oral opening statements. Instead, Plaintiffs

will immediately begin calling witnesses at 8:00 a.m. on Monday, April 1, 2024.

       Plaintiffs must identify their first five witnesses to defense counsel by 5:00

pm. (ET) on Friday, March 29, 2024. Each time Plaintiffs finish the third of their

identified five witnesses, they will disclose the next three witnesses to defense

counsel.

       The parties will submit written closing arguments. There are no page or word

limits. All of the parties have ordered daily transcripts, so there should be no delay

in securing transcripts before preparing their closing arguments. Assuming all

testimony concludes on or before Friday, April 12, 2024, Plaintiffs shall file their

written closing arguments on or before Monday, April 22, 2024, by 11:59 p.m.

(ET). Defendants, in turn, shall file their written closing arguments on or before

11:59 p.m. (ET) on Monday, April 29, 2024.2 Finally, Plaintiffs shall file written

rebuttal closing arguments on or before Friday, May 3, 2024, by 11:59 p.m. (ET).




       2
          Although Defendants only have seven days to submit their written closing arguments
following Plaintiffs’ submissions, they also have at least ten days that Plaintiffs receive to prepare
their arguments ahead of Plaintiffs’ submissions. In effect, Defendants have at least seventeen days
to prepare their written closing arguments compared to Plaintiffs’ ten days.
                                                  2
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      Although there are no page or word limits for the parties’ written opening

statements or written closing arguments, Plaintiffs’ written rebuttal closing

arguments shall be limited to 20 pages or 5,000 words.

      SO ORDERED on February 28, 2024.
                                      s/Mark E. Walker                   ____
                                      Chief United States District Judge




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